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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


 DR. DOROTHY NAIRNE, et al.,
                                                  Civil Action No. 3:22-cv-00178-SDD-SDJ
         Plaintiffs,

 v.                                               Chief Judge Shelly D. Dick

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,              Magistrate Judge Scott D. Johnson

         Defendant.



                                    [PROPOSED] ORDER

       CONSIDERING the foregoing Motion to Withdraw as Counsel,

       IT IS HEREBY ORDERED that John E. Branch, III is withdrawn as counsel of record

for Defendant Nancy Landry, in her official capacity as Secretary of State of Louisiana.



READ, SIGNED, AND DATED this the _____ day of ______________, 2024.



                                                  ______________________________________
                                                             United States District Court Judge
                                                           for the Middle District of Louisiana
